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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

BNSF Railway Company
                                   Plaintiff,
v.                                                     Case No.: 1:21−cv−03072
                                                       Honorable Steven C. Seeger
Town of Cicero, Illinois
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 8, 2022:


       MINUTE entry before the Honorable Steven C. Seeger: Status hearing held on
September 8, 2022. For the reasons stated on the record, Plaintiff's motion for summary
judgment (Dckt. No. [52]) is granted in part and denied in part. The Court directs counsel
to meet and confer and submit a draft of the permanent injunction order to the Court's
proposed inbox by September 16, 2022. Mailed notice(jjr, )




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